                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND,
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,                      *
                                               *
                                               *
                                               *
v.                                             * CRIMINAL NO. PWG18-463
                                               *
MING ZHANG,                                    *

                       Defendant


                                       MOTION TO SEAL

       COMES NOW, the Defendant, Ming Zhang, by and through her undersigned

counsel, Marc G. Hall, Esquire, hereby requests this Honorable Court for an Order

sealing the attached Proposed Sealed Filing. In support of this request, the defendant

states that this Filing describes issues that are of a personal nature and that the disclosure

of this information could be embarrassing for the defendant.

       WHEREFORE, the Defendant requests that this Motion, the Order, and the Filing

be sealed.

.                                              Respectfully Submitted,




                                                            /S/
                                                  Marc G. Hall, Esquire
                                                  LAW OFFICES OF MARC G. HALL
                                                  Federal Bar No. 01386
                                                  7474 Greenway Center Drive
                                                 Suite 150
                                                 Greenbelt MD 20770
                                                 (301) 313-0209




                                CERTIFICATE OF SERVICE

        IT IS HEREBY CERTIFIED that on this 19th day of SEPTEMBER 2019, a copy of
the foregoing Motion was e-mailed, to: Office of the United States Attorney, U.S. Courthouse,
6500 Cherrywood Lane, Greenbelt, MD 20770.



                                                             /S/
                                                 Marc G. Hall, Esquire
                                                 Federal Bar No. 01386
